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BTXN 140 (rev. 12/09)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
American Achievement Corporation                          §    Case No.: 21−30058−hdh11
                                                          §    Chapter No.: 11
                                        Debtor(s)         §


                        SUMMONS TO DEBTOR IN AN INVOLUNTARY CASE
A petition under Title 11, United States Code was filed against you on 1/14/2021 in this Bankruptcy Court, requesting
an order for relief under 11 of the Bankruptcy Code (Title 11 of the United States Code).

YOU ARE SUMMONED and required to submit to the Clerk of the Bankruptcy Court, a motion or answer to the
petition within 21 days after the service of this summons. A copy of the petition is attached.

Address of Clerk:
United States Bankruptcy Court
1100 Commerce Street
Room 1254
Dallas, TX 75242

At the same time, you must also serve a copy of the motion or answer on the petitioner's attorney.

Attorney's Address:
Lydia Rogers Webb
Gray Reed and McGraw LLP
1601 Elm St., Ste. 4600
Dallas, TX 75201

If you make a motion, your time to serve an answer is governed by Bankruptcy Rule 1011(c).

IF YOU FAIL TO RESPOND TO THIS SUMMONS, THE ORDER FOR RELIEF WILL BE ENTERED.



DATED: 1/15/21                                 FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court

                                               by: /s/J. Bergreen, Deputy Clerk
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In Re: American Achievement Corporation
Case No. 21−30058−hdh11

                                        CERTIFICATE OF SERVICE


I,___________________________________________________________________________

of**_________________________________________________________________________

certify:



     That I am, and at all times hereinafter mentioned was, more that 18 years of age;

     That on the __________ day of ____________________________________,_______ I served a copy of the
within summons, together with the complaint filed in this proceeding, on




the alleged debtor in this case, by {describe here the mode of service}




the said alleged debtor at




Under penalty of perjury, I declare that the foregoing is true and correct.



           _______________________        _______________________________
           (Date)                         (Signature)



           Print Name: ____________________________________________________
           Business Address: _________________________________________________
           City: __________________________        State: ________     Zip:__________


           **____________________________________________________________________
             State mailing address
